18-01021-smb     Doc 17    Filed 06/18/18 Entered 06/18/18 18:23:23      Main Document
                                         Pg 1 of 23




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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 In re                                               Chapter 7
         TRANSCARE CORPORATION, et al.,              Case No. 16-10407 (SMB)
                                             1
                                      Debtors.       (Jointly Administered)
 SALVATORE LAMONICA, as Chapter 7 Trustee
 for the Estates of TransCare Corporation, et al.,   Adv. Proc. No. 18-01021
                              Plaintiff,
          v.
 LYNN TILTON, et al.,
                              Defendants.




     DEFENDANTS’ REPLY TO PLAINTIFF’S OPPOSITION TO DEFENDANTS’
         PARTIAL MOTION TO DISMISS CERTAIN CLAIMS ASSERTED
          IN THE CHAPTER 7 TRUSTEE’S ADVERSARY COMPLAINT
18-01021-smb             Doc 17         Filed 06/18/18 Entered 06/18/18 18:23:23                                  Main Document
                                                      Pg 2 of 23




                                                   TABLE OF CONTENTS
                                                                                                                                     Page

PRELIMINARY STATEMENT .................................................................................................... 1 
ARGUMENT .................................................................................................................................. 6 
     I.         THE TRUSTEE HAS NOT ALLEGED AN INJURY-IN-FACT THAT
                SUPPORTS ARTICLE III STANDING TO ASSERT CLAIMS ARISING
                FROM ALLEGED WARN LIABILITY .......................................................................8 
     II.        LUMPING DEFENDANTS TOGETHER WITHOUT SPECIFYING THE
                PARTICULAR CONDUCT ENGAGED IN BY EACH VIOLATES
                RULES 8 AND 9(B) OF THE FEDERAL RULES OF CIVIL
                PROCEDURE ..............................................................................................................10 
     III.       THE TRUSTEE FAILS TO STATE A CLAIM FOR FRAUDULENT
                TRANSFER .................................................................................................................14 
CONCLUSION ............................................................................................................................. 17 




                                                                      i
18-01021-smb             Doc 17         Filed 06/18/18 Entered 06/18/18 18:23:23                                Main Document
                                                      Pg 3 of 23



                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

CASES

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...............................................................................................................6, 7

Associated Indem. Corp. v. Fairchild Indus., Inc.,
   961 F.2d 32 (2d Cir. 1992).........................................................................................................9

Bell Atlantic Corp. v. Twombly,
    550 U.S. 544 (2007) .............................................................................................................6, 14

Bezuszka v. L.A. Models, Inc.,
   No. 04 CIV. 7703 (NRB), 2006 WL 770526 (S.D.N.Y. Mar. 24, 2006) ................................11

Bravado Int’l Grp. Merch. Servs., Inc. v. Ninna, Inc.,
   655 F. Supp. 2d 177 (E.D.N.Y. 2009) .....................................................................................11

Clapper v. Amnesty Int’l USA,
   586 U.S. 398 (2013) ...................................................................................................................8

Cornwall Mgmt. Ltd. v. Kambolin,
   140 A.D.3d 507 (1st Dep’t 2016) ............................................................................................12

Dover Ltd. v. A.B. Watley, Inc.,
   No. 04 CIV. 7366 (FM), 2006 WL 2987054 (S.D.N.Y. Oct. 18, 2006) ..................................13

Genesee Cty. Emps.’ Ret. Sys. v. Thornburg Mortg. Secs. Trust 2006–3,
   825 F. Supp. 2d 1082 (D.N.M. 2011) ......................................................................................13

In re Golden Guernsey Dairy LLC,
    548 B.R. 410 (Bankr. D. Del. 2015) ........................................................................................10

In re McCann, Inc.,
    318 B.R. 276 (Bankr. S.D.N.Y. 2004) (Bernstein, J.) .............................................................16

In re Petition of Alfredo Jorge Garcia Avila as Foreign Rep. of Grupo Tribasa,
    S.A., de C.V.,
    296 B.R. 95 (Bankr. S.D.N.Y. 2003) (Bernstein, J.) ...............................................................12

In re Simplexity LLC,
    No. 14-cv-10569(KG), 2017 WL 65069 (Bankr. D. Del. Jan. 5, 2017) ..................................10

Jackson v. First Fed. Sav. of Ark., F.A.,
   709 F. Supp. 863 (E.D. Ark. 1988) ..........................................................................................13
18-01021-smb             Doc 17         Filed 06/18/18 Entered 06/18/18 18:23:23                                  Main Document
                                                      Pg 4 of 23
                                             TABLE OF AUTHORITIES
                                                      (Cont’d)
                                                                                                                                 Page(s)

King Cty., Wash. v. IKB Deutsche Industriebank AG,
   863 F. Supp. 2d 288 (S.D.N.Y. 2012), rev’d in part, No. 09 CIV. 8387 SAS,
   2012 WL 11896326 (S.D.N.Y. Sept. 28, 2012) .......................................................................12

Littlejohn v. City of N.Y.,
    795 F.3d 297 (2d Cir. 2015)...................................................................................................6, 7

Lujan v. Defs. of Wildlife,
   504 U.S. 555 (1992) ...................................................................................................................8

Md. Cas. Co. v. Pac. Coal & Oil Co.,
   312 U.S. 270 (1941) ...................................................................................................................9

Multi-Juice, S.A. v. Snapple Beverage Corp.,
   No. 02 CIV. 4635(RPP), 2003 WL 1961636 (S.D.N.Y. Apr. 25, 2003) .................................13

Pall v. KPMG, LLP,
   No. 3:03CV00842(AWT), 2006 WL 2800064 (D. Conn. Sept. 29, 2006)................................9

Rieger v. Drabinsky (In re Livent, Inc. Noteholders Secs. Litig.),
   151 F. Supp. 2d 371 (S.D.N.Y. 2001)......................................................................................15

San Diego Unified Port Dist. v. Monsanto Co.,
   No. 15-cv-278, 2018 WL 626315 (S.D. Cal. Jan. 30, 2018) ...................................................10

Sicoli v. Hartford Ins. Co. of Ill.,
    No. 12-CV-00508(S)(M), 2013 WL 12309859 (W.D.N.Y. July 3, 2013) ..............................11

SR Int’l Bus. Ins. Co. v. Allianz Ins. Co.,
   343 F. App’x 629 (2d Cir. 2009) ...............................................................................................9

Waite v. Schoenbach,
   No. 10 Civ. 3439 (RMB), 2010 WL 4456955 (S.D.N.Y. Oct. 29, 2010) ................................12

STATUTES

11 U.S.C.§ 548(a)(1)(A) ................................................................................................................14

11 U.S.C. § 704(a)(1).......................................................................................................................1

28 U.S.C. § 2202 (“Declaratory Judgment Act”) ............................................................................8

29 U.S.C. 2100 et. Seq. (“WARN Act”) ..................................................................................3, 4, 9

N.Y. Debt. & Cred. § 276 ..............................................................................................................14



                                                                    iii
18-01021-smb              Doc 17          Filed 06/18/18 Entered 06/18/18 18:23:23                                   Main Document
                                                        Pg 5 of 23
                                               TABLE OF AUTHORITIES
                                                        (Cont’d)
                                                                                                                                     Page(s)

RULES

Fed. R. Civ. P. 8 ..................................................................................................................... passim

Fed. R. Civ. P. 8(a) .................................................................................................................11, 17

Fed. R. Civ. P. 8(a)(2) ....................................................................................................................14

Fed. R. Civ. P. 8(d)(3)..............................................................................................................15, 16

Fed. R. Civ. P. 8(e)(2) ..............................................................................................................15, 16

Fed. R. Civ. P. 9(b) ................................................................................................................ passim

Fed. R. Civ. P. 12(b)(1)............................................................................................................10, 17

Fed. R. Civ. P. 12(b)(6)......................................................................................................10, 17, 18

Fed. R. Civ. P. 13 .............................................................................................................................9

Fed. R. Civ. P. 13(g) ........................................................................................................................9

Fed. R. Civ. P. 14 .............................................................................................................................9




                                                                       iv
18-01021-smb           Doc 17       Filed 06/18/18 Entered 06/18/18 18:23:23                     Main Document
                                                  Pg 6 of 23


           Defendants1 respectfully submit this reply (the “Reply”) to the Plaintiff’s Opposition to

Defendants’ Partial Motion to Dismiss (the “Opposition”) and in further support of their

Motion,2 seeking the dismissal of certain claims, or portions of claims, that have been asserted in

the adversary complaint (the “Complaint”) filed by Salvatore LaMonica, the chapter 7 Trustee

(“Trustee”) of the jointly-administered estates of TransCare Corporation and its debtor affiliates

(collectively, “TransCare”).3 In support of their Reply, Defendants respectfully state as follows:

                                        PRELIMINARY STATEMENT

           1.       Consistent with the Federal Rules of Civil Procedure, Bankruptcy Rules, and

provisions of the Bankruptcy Code, in bringing their Motion the Defendants appropriately seek

to streamline this meritless adversary proceeding. That will help the Trustee to administer and

close the estate “as expeditiously as is compatible with the best interests of parties in interest”

while protecting the interests of the Defendants from vague, implausible, and unsustainable

allegations. See 11 U.S.C. § 704(a)(1) (outlining the duties of a chapter 7 trustee).

           2.       As is made clear in the Trustee’s Opposition, the Trustee wants to live by his own

rules. For example, and as is discussed more fully below, while Fed. R. Civ. P. 8 dictates that

actions brought against multiple defendants must clearly specify the claims with which each

particular defendant is charged, the Trustee repeatedly lumps together multiple Defendants.

Accordingly, when the Trustee alleges that “Patriarch knowingly and in bad faith assisted

1
  The Defendants in this adversary proceeding are: Lynn Tilton, Patriarch Partners Agency Services, LLC
(“PPAS”), Patriarch Partners, LLC (“Patriarch Partners”), Patriarch Partners Management Group, LLC (“PPMG”),
Ark II CLO 2001-1, Limited (“ARK II”), Ark Investment Partners II, L.P. (“AIP II”), LD Investments, LLC,
Patriarch Partners II, LLC, Patriarch Partners III, LLC , Patriarch Partners VIII, LLC, Patriarch Partners XIV, LLC,
Patriarch Partners XV, LLC, Transcendence Transit, Inc. (“TT”), and Transcendence Transit II, Inc. (“TT II”, and
together with TT, “Transcendence”). As used herein, the term “Entity Defendants” refers collectively to all
defendants except Ms. Tilton.
2
 Capitalized terms utilized herein, but not defined, shall have the meaning, or meanings, ascribed to them in the
Motion.
3
    The names of each of the debtors are set forth in footnote 1 of the Complaint (“Compl.”) (Dkt. No. 1).
18-01021-smb         Doc 17       Filed 06/18/18 Entered 06/18/18 18:23:23                      Main Document
                                                Pg 7 of 23


Tilton’s breaches of fiduciary duties….,” the Defendants appropriately ask: “Who is the Trustee

referring to and what did each entity do to assist?”4                   Likewise, when the Trustee alleges

“Patriarch was in complete domination of the finances, policy, and business practices of

TransCare,” the Defendants understandably ask: “Who is he talking about? All of them (and, if

so, what did each one of them do specifically)? Even the Defendants that the Trustee knows and

expressly concedes did not exist during the approximately two years covered by the Complaint?

Even the Defendants that are mere investment vehicles and could not plausibly have taken the

actions complained of?”

         3.       Compliance with the Rules is not optional. Accordingly, in their Motion, the

Defendants seek dismissal of those claims for which the Trustee has utterly failed to make

specific, plausible allegations against specific individual defendants as required by the Rules.

Instead, in his Opposition the Trustee retrenches and repeats 10 pages of alleged “facts” (with

citations to his Complaint), in which he (again and again) uses the term “Patriarch” to refer

generally to an undifferentiated group of twelve different entities, as if they were the alter-ego of

one another (although in his Complaint the Trustee never uses that term and never pleads the

elements necessary to make that claim, nor could he).

         4.       But rather than comply with the Rules, and notwithstanding the fact that

TransCare had its own C-level officers and hired the Carl Marks firm to help guide it prior to the

bankruptcy filing, the Trustee simply blames the “Defendants” – all of them – for every

misfortune that befell TransCare.


4
  Defendants have not sought (at this time) to dismiss those claims and allegations that comply with the Rules.
While Defendants submit that this entire suit is frivolous, Defendants will respond to such claims and allegations in
due course and reserve all their rights to do so, including by motion for summary judgment at the appropriate time.
Thus, the Trustee’s statement that by not moving to dismiss the Complaint in its entirety, the Defendants concede
the “core allegations state viable causes of action that cannot be resolved without trial” (Opposition at ¶ 1), is as
incorrect as it is hyperbolic.



                                                          2
18-01021-smb          Doc 17      Filed 06/18/18 Entered 06/18/18 18:23:23                      Main Document
                                                Pg 8 of 23


           5.      As set forth in the Motion and herein, the Trustee conveniently ignores the

practical effects of external market forces, the inability of TransCare to access capital markets,

and other factors, such as the stated reluctance of TransCare’s secured lenders (including Wells

Fargo) to provide additional support for TransCare, which forced the Debtors to commence

bankruptcy proceedings.5 Rather than acknowledging the simplest, most plausible explanation

(i.e., that the company was struggling to survive, could not raise money, and could not be sold

for more than the amount of its secured debt), the Trustee imagines a cloak and dagger,

conspiracy-laden version of supposed “facts” where employees are “stealing” property in the

face of a bankruptcy stay rather than simply trying to safeguard it.

           6.      Perhaps most fatal to the Trustee’s pleading is his apparent ignorance of his own

conduct, including (i) the statements in his filed answer to the Ien WARN Litigation6 complaint,

which completely contradict the notion that TransCare’s failure was the foreseeable result of

Defendants’ actions, and (ii) his agreement (by stipulation with PPAS) to (a) sell the very same

assets allegedly “stolen” by the Defendants and (b) give the lion’s share of the sale proceeds to

the Defendants. For the reasons set forth in the Motion, and reiterated below, the Trustee lacks

standing to bring claims for damages related to the Ien WARN Litigation, particularly given the

fact that he has consistently and repeatedly denied any liability.

           7.      Specifically, in denying any and all liability on the part of TransCare in the Ien

WARN Litigation the Trustee stated:

                   To the extent the Debtors were required to give notice of
                   termination to Plaintiff and/or the putative class members under
                   the WARN Act, the Debtors were unable to give such notice

5
  For example, the Trustee simply ignores the fact that TransCare’s secured lenders, including Wells Fargo, “had a
first lien on all of TransCare’s assets and account receivables” (Compl. ¶ 32) and that neither Wells Fargo, nor any
other lender, would provide any further financing to TransCare.
6
    The Ien WARN Litigation is styled Shameeka Ien v. Transcare Corp., et al., No. 16-01033 (SMB).



                                                          3
18-01021-smb        Doc 17      Filed 06/18/18 Entered 06/18/18 18:23:23                   Main Document
                                              Pg 9 of 23


                 because, pursuant to 29 U.S.C. § 2102(b)(2)(A) and upon
                 information and belief, the terminations were caused by business
                 circumstances that were not reasonably foreseeable at the time
                 that notice would have been required, and the WARN Act claim is
                 therefore barred.
                 …

                 To the extent the Debtors were required to give notice of
                 termination to Plaintiff and/or the putative class members under
                 the WARN Act, the Debtors were permitted, pursuant to 29 U.S.C.
                 § 2102(b)(1) and upon information and belief, to order a closing or
                 layoff without providing such notice because, as of the time notice
                 would have been required, the Debtors were actively seeking
                 capital and/or business which, if obtained, would have enabled the
                 Debtors to avoid or postpone the closing or layoff and the Debtors
                 reasonably and in good faith believed that giving the required
                 notice would have precluded them from obtaining the needed
                 capital and/or business. The WARN Act claim is therefore barred.
                 …

                 Plaintiff’s claims are barred under the unforeseeable business
                 circumstances exception to the NY WARN Act, 12 N.Y.C.R.R. §
                 921-6.3, because, upon information and belief, the closing or layoff
                 was caused by business circumstances that were not reasonably
                 foreseeable at the time that notice would have been required.”

Ien WARN Litigation, No. 16-01033 (SMB), Answer to Complaint, Seventh, Eighth, Tenth
Affirmative Defenses, Dkt. No. 24, at 18-20, filed June 3, 2016 (emphasis added).

        8.       Likewise, the allegations that value was somehow taken from the Debtors’ estates

through the conduct outlined in the Opposition is completely belied by the fact that the Trustee

entered into a comprehensive stipulation with PPAS and Transcendence Transit, Inc. to permit

the sale of the very same assets at an auction conducted by the Trustee’s auctioneer, with the

proceeds being set aside to satisfy the Debtors’ obligations to PPAS.7 Pursuant to the stipulation


7
  The Trustee attached as Exhibit A to his Opposition an email chain, dated February 25, 2016, among TransCare
and Patriarch Partners’ employees. The email actually supports the Defendants. It details how ambulances (in
which Ark II and AIP had a security interest) were reportedly being abandoned in the street, and the efforts of
TransCare and Patriarch Partners’ employees to safeguard the assets and prevent loss. The Trustee himself
personally represented to this Court at the hearing on the Trustee’s Motion to Authorize Continued Operation of
Debtors’ Business that when TransCare ceased operations “vehicles were subject to not being secured, being
damaged, being abandoned, and there were 140 Access-A-Ride vehicles out there on the streets with very
disgruntled employees driving them, and the City was very concerned about what was going to happen to those . . .


                                                       4
18-01021-smb         Doc 17       Filed 06/18/18 Entered 06/18/18 18:23:23                       Main Document
                                               Pg 10 of 23


and agreed order, 80% of the proceeds went to satisfy the claims of PPAS as administrative

agent (the rest went to the auctioneer, Trustee, and to satisfy other costs of the Estate). See

Stipulation Respecting the Sale of Certain Personal Property, Case. No. 16-10407, Dkt. No. 52.

The Trustee’s allegations regarding the disposition of these assets – including the nasty, false,

and disparaging reference to certain current and former Patriarch Partners employees as

“henchmen” who gave directions to “steal TransCare assets” – are unnecessarily insulting,

defamatory and patently false. Such rhetoric should have no place in a pleading filed in this

Court.

         9.       The Defendants respectfully submit that this Court should grant their Motion, as

the claims at issue do not comply with the pleading Rules; upon dismissal of these claims the

Complaint will be narrower, the issues clearer, and the resolution of these cases more

expeditious.




The employee who was running the TransCare -- the paratransit operation indicated to myself and my partner, Mr.
Herbst, that he was leaving the premises because he was in fear for his life; literally said that to us.” Hearing Tr. on
Mot. for Joint Administration & Motion to Authorize Continued Operation of Debtors’ Business, 7:12 – 8:7 (Mar. 1,
2016), Dkt. No. 29.



                                                           5
18-01021-smb         Doc 17        Filed 06/18/18 Entered 06/18/18 18:23:23                       Main Document
                                                Pg 11 of 23


                                                   ARGUMENT

         10.      In opposing the Defendants’ Motion, the Trustee relies on Littlejohn v. City of

New York, 795 F.3d 297 (2d Cir. 2015), to support the proposition that the pleading standard for

a complaint is broad.          However, Littlejohn actually undermines the Trustee’s premise and

supports the Defendants’ position. As articulated by the Littlejohn court, and largely ignored by

the Trustee, the Rule 12(b)(6) motion to dismiss standard requires that the facts asserted in the

Complaint rise to the level of “plausibility” – which is more than simply rising above the level of

speculation.8

         11.      In Littlejohn, the Second Circuit (faced with a motion to dismiss an employment

discrimination case) surveyed recent Supreme Court jurisprudence on motions to dismiss. The

case most relevant here is Ashcroft v. Iqbal, 556 U.S. 662 (2009). In analyzing the standard for

dismissal in Iqbal, the Littlejohn court noted that

                  The Supreme Court had recently determined in Bell Atlantic Corp.
                  v. Twombly, 550 U.S. 544, 127 S.Ct. 1955, 167 L.Ed.2d 929
                  (2007), that a complaint alleging an unlawful agreement in
                  restraint of trade must include “enough factual matter (taken as
                  true) to suggest [plausibly] that an agreement was made,” id. at
                  556, 127 S.Ct. 1955, or otherwise include “enough facts to state a
                  claim to relief that is plausible on its face,” id. at 570, 127 S.Ct.
                  1955.

         12.      Applying this “plausibility” standard, the Littlejohn court noted that the Supreme

Court’s pleading requirement could be stated simply as follows:

                  To survive a motion to dismiss, a complaint must contain sufficient
                  factual matter, accepted as true, to state a claim to relief that is
                  plausible on its face.



8
  Although at this Motion to Dismiss phase we do not address the falsity of many of the Trustee’s allegations,
notably, the weakness of the Trustee’s fantastical allegations is illustrated by the few emails he chose to attach to his
Opposition (though not the Complaint itself), which on a plain reading simply do not support his fictitious
allegations.



                                                           6
18-01021-smb             Doc 17   Filed 06/18/18 Entered 06/18/18 18:23:23                  Main Document
                                               Pg 12 of 23


Littlejohn, 795 F.3d at 309 (quoting Iqbal, 556 U.S. at 678).

    13.         According to the Littlejohn court, “The Iqbal requirement is for facts supporting

‘plausibility.’ The Supreme Court explained that ‘[t]he plausibility standard is not akin to a

‘probability requirement,’ but it asks for more than a sheer possibility that a defendant has acted

unlawfully.’” Littlejohn, 795 F.3d at 310 (quoting Iqbal, 556 U.S. at 678). The allegations and

claims sought to be dismissed herein are simply not plausible.

          14.      The Trustee has divided his Opposition into six sections, which can be

summarized as follows:

                   I.       The Constitution Does Not Strip the Court of
                            Jurisdiction to Adjudicate All Damages;

                   II.      Group Pleading;

                   III.     Lender Liability Claims;

                   IV.      Fraudulent Transfer States a Claim against All
                            Defendants;

                   V.       Equitable Subordination claims; and

                   VI.      Trustee’s objection to claims of Patriarch Partners
                            and PPMG.

          15.      Defendants believe the Motion adequately addresses each of these sections

above.9 Nevertheless, the Defendants will address Sections I (Jurisdiction), II (Group Pleading),

and IV (Fraudulent Transfer) of the Opposition in greater detail below. Sections III (Lender

Liability Claims), V (Equitable Subordination) and VI (Objection to Claims) suffer from the

same group pleading deficiencies Defendants address in Point II, infra.


9
 The Defendants’ Motion addresses Article III standing at pages 15-18; Group Pleading at pages 18-25 (including
Lender Liability Claims); Fraudulent Transfer Claims at pages 25-28; Equitable Subordination Claims at pages 28-
29; and the Trustee’s Objections to Claims of Patriarch Partners and PPMG at pages 29-30.




                                                        7
18-01021-smb           Doc 17     Filed 06/18/18 Entered 06/18/18 18:23:23           Main Document
                                               Pg 13 of 23


I.           THE TRUSTEE HAS NOT ALLEGED AN INJURY-IN-FACT THAT SUPPORTS
             ARTICLE III STANDING TO ASSERT CLAIMS ARISING FROM ALLEGED
             WARN LIABILITY

             16.    The Trustee contends that because this Court has jurisdiction to hear contingent

     claims, it can hear his damages claim stemming from the Ien WARN Litigation (even though he

     denies any liability for the Estate in that lawsuit). Not so.

             17.    The Article III standing doctrine limits federal court jurisdiction. Lujan v. Defs.

     of Wildlife, 504 U.S. 555, 560-61 (1992). In order to satisfy Article III’s standing requirement,

     the Trustee must show he has suffered a cognizable injury in fact, among other things. Id.

     Where, as here, the Trustee seeks damages dependent upon an outcome in a separate pending

     litigation, he must show that liability in that action is “certainly impending” or there is a

     “substantial risk” the alleged injury will incur. Clapper v. Amnesty Int’l USA, 586 U.S. 398, 414

     n.5 (2013).    The Trustee has failed to plead this.       In fact, the Trustee, who is defending

     TransCare’s estate in the Ien WARN Litigation, has consistently and steadfastly denied any

     liability.

             18.    Because the Trustee has not alleged (and cannot allege) that any potential

     recovery in the Ien WARN Litigation is “certainly impending” or that there is a “substantial risk”

     that TransCare will incur such liability, the Trustee resorts to a general discussion of

     circumstances in which federal courts may have jurisdiction to resolve contingent claims. The

     Trustee’s comparisons miss the mark.

             19.    First, the Trustee relies on several decisions involving contingent claims in

     insurance coverage disputes. These cases, many of which were brought under the Declaratory

     Judgment Act, are readily distinguishable because they do not address the “injury in fact”

     element for Article III standing that is at issue here. See Associated Indem. Corp. v. Fairchild




                                                       8
18-01021-smb        Doc 17     Filed 06/18/18 Entered 06/18/18 18:23:23            Main Document
                                            Pg 14 of 23


Indus., Inc., 961 F.2d 32 (2d Cir. 1992); Md. Cas. Co. v. Pac. Coal & Oil Co., 312 U.S. 270, 272

(1941); SR Int'l Bus. Ins. Co. v. Allianz Ins. Co., 343 F. App’x 629, 632 (2d Cir. 2009).

         20.      Likewise, the Trustee’s discussion of a defendant’s ability to assert contingent

claims under Rules 13 and 14 of the Federal Rules of Civil Procedure is similarly misplaced.

Defendants do not dispute that Rule 13(g) permits a defendant to assert against a codefendant a

contingent claim when the claim is asserted in the same action in which the defendant has been

sued. For example, the Trustee could have attempted to assert a crossclaim for indemnification

or contribution against the Defendants in the Ien WARN Litigation. The Trustee declined to do

so. Instead, the Trustee argued, unequivocally, that there is no WARN Act liability (a position the

Defendants agree with).

         21.      The Trustee contends that, because he may have properly asserted a contingent

crossclaim in the Ien WARN Litigation, he may assert a contingent claim in this separate

litigation. The Trustee is wrong. The availability of a claim in a related action has no bearing on

the issue of whether that claim can be properly asserted in this action.

   22.         Pall v. KPMG, LLP, No. 3:03CV00842(AWT), 2006 WL 2800064 at *3 (D. Conn.

Sept. 29, 2006), is instructive.

                  The plaintiff points to a line of cases which he claims support his
                  contention that contribution claims can be considered ripe before
                  underlying liability is established. However, these cases address
                  contribution claims made by third-party defendants or third-party
                  plaintiffs who are joined in the action in which liability will be
                  determined . . . . [C]ontribution claims can be brought in an
                  underlying action pursuant to Fed. R. Civ. P. 14. However, the
                  availability of contribution claims in a related action has no
                  bearing on the issue of the ripeness of the federal contribution
                  claim brought in this action. Here, because the plaintiff is
                  attempting to bring a contribution claim which is contingent upon a
                  finding of liability in the related actions, the injury (and
                  availability of a contribution claim) depends upon the results in the
                  related actions, making the contribution claim not ripe.



                                                   9
 18-01021-smb             Doc 17       Filed 06/18/18 Entered 06/18/18 18:23:23                     Main Document
                                                    Pg 15 of 23



      Id. at *3. Because there has been no finding of liability in the Ien WARN Litigation, the claims

      the Trustee alleges in this action for damages based on potential WARN liability are not ripe.10

              23.      Finally, the Trustee argues that, although liability has yet to be assessed in the Ien

      WARN Litigation, he has suffered an injury-in-fact because he has incurred costs defending the

      Ien WARN Litigation. The Trustee cites no legal support for this position, which cannot be

      squared with certain of the holdings in the cases cited by the Defendants in their Motion.

              24.      For example, in San Diego Unified Port District v. Monsanto Co., No. 15-cv-278,

      2018 WL 626315 (S.D. Cal. Jan 30, 2018), the court found the plaintiff failed to allege an injury

      in fact notwithstanding that the plaintiff was involved in active pending litigation in which it was

      necessarily incurring defense costs, including legal fees. See e.g. id. at *9. If simply incurring

      litigation costs were a sufficient injury-in-fact, San Diego Unified Port District and cases like it

      would have been decided differently.

II.           LUMPING DEFENDANTS TOGETHER WITHOUT SPECIFYING THE
              PARTICULAR CONDUCT ENGAGED IN BY EACH VIOLATES RULES 8 AND
              9(B) OF THE FEDERAL RULES OF CIVIL PROCEDURE

              25.      The Trustee claims that his vague, generalized pleading does not run afoul of the

      prohibition against group-pleading because Ms. Tilton is the alter ego of all twelve of the Entity

      Defendants and, as such, the Trustee may lump them all together in each claim without

      distinguishing their conduct. Opposition at 17-19. There are at least two fatal flaws with his

      argument.



      10
         Nor do the WARN liability decisions the Trustee references support a finding of standing. See In re Simplexity
      LLC, No. 14-cv-10569(KG), 2017 WL 65069 (Bankr. D. Del. Jan. 5, 2017); In re Golden Guernsey Dairy LLC, 548
      B.R. 410, 413 (Bankr. D. Del. 2015). In each case, the court was tasked with determining the sufficiency of
      allegations in a complaint concerning potential WARN liability for Rule 12(b)(6) purposes. Neither decision
      addresses a Rule 12(b)(1) motion or whether potential exposure from a pending litigation may give rise to an actual
      or imminent injury sufficient to confer Article III standing and are plainly off point.



                                                              10
18-01021-smb        Doc 17     Filed 06/18/18 Entered 06/18/18 18:23:23          Main Document
                                            Pg 16 of 23


         26.      First, the Trustee did not plead an alter ego theory in the Complaint. When a

plaintiff attempts to impose liability “under an alter ego theory, it must plead such allegations in

the body of the Complaint.” Sicoli v. Hartford Ins. Co. of Ill., No. 12-CV-00508 (S)(M), 2013

WL 12309859, at *4 (W.D.N.Y. July 3, 2013) (internal quotation marks omitted). Courts in the

Second Circuit have rejected alter ego liability theories at the motion to dismiss stage when those

theories were not raised in the complaint. See, e.g., Bezuszka v. L.A. Models, Inc., No. 04 CIV.

7703 (NRB), 2006 WL 770526, at *10 (S.D.N.Y. Mar. 24, 2006) (rejecting argument that

individual defendant could be personally liable for breach of contract claim at motion to dismiss

stage where “[t]he complaint does not allege that [the defendant] was the alter ego of his

companies, nor is this a case in which veil piercing is appropriate”).

         27.      Second, even if the Court were to liberally interpret the Complaint and find that

the Trustee was making alter ego allegations without having expressly referred to the alter ego

doctrine, the Trustee’s allegations that Ms. Tilton dominated and controlled the Entity

Defendants are insufficient to satisfy Rule 8(a), let alone the heightened requirements of Rule

9(b). Bravado Int'l Grp. Merch. Servs., Inc. v. Ninna, Inc., 655 F. Supp. 2d 177, 197 (E.D.N.Y.

2009) (“[a]llegations concerning the domination element are subject to the basic pleading

standard of Rule 8,” while “[a]llegations concerning the fraud or wrongful act element are

subject to the heightened pleading standard of Rule 9(b) to the extent that they allege fraud.”)

   28.         At best, the Complaint alleges that Ms. Tilton exerted control over the Entity

Defendants as their owner, chief executive officer, and principal/manager (Compl. ¶ 10) and that

the Entity Defendants shared office space. Id. ¶¶ 11-23. These allegations to do not get the

Trustee over the high hurdle New York law imposes to establish alter ego liability. It is well

established law that “[m]ere domination and control, or a parent-subsidiary relationship, is




                                                 11
18-01021-smb      Doc 17     Filed 06/18/18 Entered 06/18/18 18:23:23             Main Document
                                          Pg 17 of 23


insufficient” to pierce the corporate veil or establish alter ego liability. In re Petition of Alfredo

Jorge Garcia Avila as Foreign Rep. of Grupo Tribasa, S.A., de C.V., 296 B.R. 95, 110 (Bankr.

S.D.N.Y. Aug. 20, 2003) (Bernstein, J.); see also Waite v. Schoenbach, No. 10 Civ. 3439

(RMB), 2010 WL 4456955, at *4 (S.D.N.Y. Oct. 29, 2010) (dismissing alter-ego claim under

New York law, where plaintiff relied on “unsupported assertions” that owners and officers of

one company “exercised complete dominion and control” over another company; allegations

“that [the companies] operate[d] at the same location and share[d] employees, officers, owners,

and bank accounts”; and statements that the companies “shift[ed] money and assets between

themselves ... in an effort to defraud creditors” (internal quotation marks omitted)); Cornwall

Mgmt. Ltd. v. Kambolin, 140 A.D.3d 507, 507 (1st Dep’t 2016) (bare allegations that defendants

“controlled and dominated” corporation “are insufficient to state a cause of action for alter ego

liability.”).

        29.     Moreover, certain of the cases on which the Trustee relies actually support

Defendants’ argument that the Trustee is required to provide each individual defendant with fair

notice of what it is alleged to have done. The first of these cases, King County, Washington v.

IKB Deutsche Industriebank AG, 863 F. Supp. 2d 288, 316 (S.D.N.Y. 2012), rev'd in part, No.

09 CIV. 8387 SAS, 2012 WL 11896326 (S.D.N.Y. Sept. 28, 2012), involved the plaintiffs’

reference to defendants “Fitch, S & P and Moody’s collectively as the ‘Rating Agencies’” in

allegations that applied to those three defendants. The Court held that the use of a collective

term was appropriate in all allegations that applied equally to all three defendants. However, the

Court made clear that while group pleading could be appropriate in certain circumstances,

plaintiffs still have “‘an obligation to “make clear exactly who is alleged to have done what to




                                                 12
18-01021-smb         Doc 17      Filed 06/18/18 Entered 06/18/18 18:23:23                      Main Document
                                              Pg 18 of 23


whom.’” Id. at 316 (quoting Genesee Cty. Emps.' Ret. Sys. v. Thornburg Mortg. Secs. Trust

2006–3, 825 F. Supp. 2d 1082, 1202 (D.N.M. 2011)).

        30.      The full quote from Thornburg is instructive :

                 [P]laintiff has an obligation to ‘make clear exactly who is alleged
                 to have done what to whom, to provide each individual with fair
                 notice as to the basis of the claims against him or her, as
                 distinguished from collective allegations against’ all the bad actors.

Genesee Cty. Emps.' Ret. Sys., 825 F. Supp. 2d at 1202.                       That is precisely the point of

Defendants’ Motion and their request that the Court require the Trustee to adhere to the pleading

requirements of Rule 8 and Rule 9(b). See also Multi-Juice, S.A. v. Snapple Beverage Corp., No.

02 CIV. 4635(RPP), 2003 WL 1961636, at *6 (S.D.N.Y. Apr. 25, 2003) (dismissing all causes of

action against corporate parent, Triarc, because “bare allegations naming Defendants as

‘Triarc/Snapple’ are improper” where “Plaintiffs failed to separately allege facts against Triarc

showing that it is liable as an entity distinct from Snapple” and “Plaintiffs concede that Plaintiffs

neither alleged facts supporting an agency theory, nor stated the elements of piercing the

corporate veil in order to support a theory of respondeat superior against Triarc as the holding

company of Snapple”).11

        31.      Further, the Trustee misapprehends the allocations of burden in this matter. The

Trustee bizarrely contends that Rule 8 “does not require the Trustee to tell Tilton what herself

[sic] already knows, namely which entity she used to carry out which facet of the scheme.”

Opposition at 19. But Rule 8(a)(2) places an initial pleading burden on the plaintiff to provide “a

11
  Two other cases cited by the Trustee are not on point. First, Dover Ltd. v. A.B. Watley, Inc., No. 04 CIV. 7366
(FM), 2006 WL 2987054, at *8-10 (S.D.N.Y. Oct. 18, 2006), involved a complaint in which the plaintiffs explicitly
sought to hold certain defendants vicariously liable for the conduct of a third defendant under an alter ego
theory. Those defendants, in turn, moved to dismiss the alter ego claims. The case did not relate to or discuss group
pleading. Second, Jackson v. First Federal Savings of Arkansas, F.A., 709 F. Supp. 863, 878 (E.D. Ark. 1988),
addressed a situation where the plaintiff “does not have what may be concealed information.” No such allegation is
made here, nor could it be in light of the Trustee’s extensive Rule 2004 examination.




                                                        13
  18-01021-smb         Doc 17       Filed 06/18/18 Entered 06/18/18 18:23:23                    Main Document
                                                 Pg 19 of 23


   short and plain statement of the claim showing that the pleader is entitled to relief” – not the

   defendants. Fed. R. Civ. P. 8(a)(2). This pleading burden includes giving each defendant “fair

   notice of what the . . . claim is and the grounds upon which it rests.” Twombly, 550 U.S. at 555

   (quotation marks omitted). By lumping the Entity Defendants together, the Trustee failed to give

   fair notice to each Entity Defendant of the Trustee’s claims and the basis for each claim asserted

   against each Entity Defendant, and thus failed to meet his pleading burden. Accordingly, the

   Counts containing impermissible group pleading should be dismissed.

III.       THE TRUSTEE FAILS TO STATE A CLAIM FOR FRAUDULENT TRANSFER

           32.      The Trustee does not dispute that the Complaint fails to allege any transfer of

   TransCare property to Ms. Tilton or any of the Entity Defendants except PPAS. See Motion at

   ¶¶ 73-75. Nor does the Trustee dispute that, to state a claim under Section 548(a)(1)(A) of the

   Bankruptcy Code or New York Debtor & Creditor Law § 276, the Trustee must allege that an

   actual transfer occurred. Instead, the Trustee argues in his Opposition (rather than pleading facts

   in the Complaint) that, because PPAS’s alleged role was as “agent” for numerous other

   defendants, the Court should simply infer that PPAS further conveyed estate property to each of

   the other twelve defendants.12

           33.      In other words, the Trustee contends for the first time in the Opposition that it is

   plausible that PPAS passed through transfers to those on whose behalf PPAS allegedly acted,

   including the other Defendants. But that’s not what the Trustee alleged in his Complaint. In

   fact, the Trustee did not even attempt to allege, even upon information and belief, that any estate

   property was fraudulently conveyed by TransCare or PPAS to any other defendant, much less


   12
     It is unclear if the Trustee, who interviewed Ms. Tilton personally, is confused about PPAS’s role or is
   misrepresenting it. PPAS is not the “agent” for numerous other Defendants; rather, PPAS is the administrative agent
   under the Credit Agreement pursuant to which only two of the defendants here – Ark II and AIP – made certain
   secured loans to TransCare. See Motion, Eichberger Decl., Ex. A, Schedule 1.0, at TRBK0000116-17.



                                                           14
18-01021-smb       Doc 17   Filed 06/18/18 Entered 06/18/18 18:23:23             Main Document
                                         Pg 20 of 23


what was conveyed. The reason the Trustee did not make such allegations is because they are

inconsistent with the Trustee’s theory of the case (not to mention contrary to the Credit

Agreement and reality): the Trustee has consistently taken the position that Defendants’ alleged

plan to transfer TransCare assets through the strict foreclosure to Transcendence was ineffective.

(Compl. ¶¶ 94, 95, 128).

        34.    As noted above, for a pleading to survive a 12(b)(6) motion, the allegations must

be “plausible.” Under what scenario is it “plausible” that TransCare assets were transferred to a

third party when the Trustee simultaneously alleges that any attempts to transfer those assets

actually failed?

        35.    The Trustee argues that it is not fatal to his claims that he alleges no transfer was

actually made to any Defendants other than PPAS because Rule 8(e)(2) [now Rule 8(d)(3)]

allows a plaintiff to plead inconsistently. Fed. R. Civ. P. 8(d)(3). This argument does not work

here.

        36.    First, the Trustee has not actually made inconsistent allegations concerning the

facts surrounding the transfer of any TransCare assets. Nowhere in the Complaint does the

Trustee allege any TransCare assets were actually diverted to any Defendants with the exception

of PPAS. Put differently, the Trustee has put forth just one statement of facts relating to the

Transcendence Plan.

        37.    Second, even if the Trustee pleaded inconsistent statements of the facts – which

he did not – Rule 8(d)(3) does not grant a plaintiff “license to plead inconsistent assertions of

fact within the allegations that serve as the factual predicates for an independent, unitary

claim.” See Rieger v. Drabinsky (In re Livent, Inc. Noteholders Secs. Litig.), 151 F. Supp. 2d

371, 407 (S.D.N.Y. 2001). Rule 8(d)(3) refers to statements of “separate claims” which are




                                                15
18-01021-smb          Doc 17    Filed 06/18/18 Entered 06/18/18 18:23:23              Main Document
                                             Pg 21 of 23


permitted “regardless of consistency.” Fed. R. Civ. P. 8(d)(3). In other words, Rule 8(d)(3) does

not allow a plaintiff to make inconsistent factual allegations in the same claim.

    38.         In re McCann, Inc., 318 B.R. 276, 290 (Bankr. S.D.N.Y. 2004) (Bernstein, J.) is

instructive. There, certain defendant hotel properties – Marriott, Ritz, and Luxury – moved to

dismiss constructive fraudulent transfer claims the chapter 11 trustee had asserted against them

on the ground that they contained contradictory allegations in violation of Rule 8(e)(2).

Specifically, in the Ninth, Tenth, and Eleventh Claims – brought against each of these three hotel

defendants, respectively – the trustee alleged both that another hotel defendant, Di Lido, was the

initial transferee of certain payments in dispute while simultaneously alleging that each

respective hotel defendant was also the initial transferee of the same payments. The Court held

that these inconsistent allegations could lead to the dismissal of the claims.

                   The plaintiff alleged, as facts common to all claims, that Di Lido
                   was the initial transferee of the payments . . . He incorporated
                   those allegations into the Ninth, Tenth and Eleventh Claims
                   asserted, respectively, against [Defendants] Marriot . . . Ritz, . . .
                   and Luxury . . . Each of those claims also alleged that the
                   particular defendant was the initial transferee . . . . the plaintiff’s
                   inconsistent allegations appear in the same claim, and are self-
                   defeating.

Id. at 290.

    39.         Like the trustee in McCann, the Trustee has made inconsistent allegations in the same

claim. He alleges both that (i) no transfer of TransCare property was effectively made to any of

the Defendants other than PPAS and (ii) simultaneously alleges, under the most favorable

reading, that it is hypothetically possible that the “strict foreclosure” was effective. Compl. ¶¶

128-29. This type of inconsistent pleading is similarly self-defeating.

          40.      Finally, the Trustee argues that to the extent Rule 9(b) applies to the fraudulent

transfer claims, the Complaint satisfies the requirements of Rule 9(b). Rule 9(b) requires: “In



                                                     16
18-01021-smb      Doc 17     Filed 06/18/18 Entered 06/18/18 18:23:23         Main Document
                                          Pg 22 of 23


alleging fraud or mistake, a party must state with particularity the circumstances constituting

fraud or mistake. Malice, intent, knowledge, and other conditions of a person’s mind may be

alleged generally.” It is simply not possible that the Trustee could have satisfied 9(b) when he

did not satisfy the more lenient standards of Rule 8(a).

                                         CONCLUSION

       For the reasons stated herein, and in the Motion, Defendants respectfully request that the

Court enter an order:

       (i)     Dismissing the claims for damages arising from the Ien WARN
               Litigation alleged by the Trustee in Counts I, II, and VI of the
               Complaint as to all Defendants pursuant to Fed. R. Civ. P.
               12(b)(1);

       (ii)    Dismissing the Trustee’s claims in Counts II and VI-IX of the
               Complaint as to the Entity Defendants for failure to comply with
               Fed. R. Civ. P. 8;

       (iii)   Dismissing the Trustee’s claims in Counts VII and VIII of the
               Complaint as to the Entity Defendants for failure to comply with
               Fed. R. Civ. P 9(b);

       (iv)    Also dismissing the Trustee’s claims in Counts VII and VIII of the
               Complaint against Ms. Tilton and the Entity Defendants other than
               PPAS pursuant to Fed. R. Civ. P. 12(b)(6);

       (v)     Dismissing the Trustee’s claims in Count III of the Complaint
               against Patriarch Partners pursuant to Fed. R. Civ. P. 12(b)(6);

       (vi)    Dismissing the Trustee’s claims in Count V of the Complaint
               against Patriarch Partners and PPMG pursuant to Fed. R. Civ. P.
               12(b)(6); and

       (vii)   Granting such other and further relief as the Court deems just and
               proper.




                                                17
18-01021-smb    Doc 17   Filed 06/18/18 Entered 06/18/18 18:23:23     Main Document
                                      Pg 23 of 23


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                                        18
